Case 4:04-cr-00185-RAS-DDB            Document 550         Filed 06/04/13      Page 1 of 2 PageID #:
                                             1142


                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §            Case No. 4:04cr185
                                                   §            (Judge Schell)
 DANIEL ORTEGA (5)                                 §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on May 16, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Maureen Smith.

        On January 9, 2006, Defendant was sentenced by the Honorable Richard A. Schell to sixty

 (60) months’ custody followed by four (4) years of supervised release for the offense of Conspiracy

 to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense

 Methamphetamine. On April 24, 2009, Defendant completed his period of imprisonment and began

 service of his supervised term.

        On February 14, 2013, the U.S. Probation Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated several mandatory,

 standard, and special conditions. Violation allegation one, four, five, six, and seven were dismissed

 by the Government. The petition also alleged violation of the following conditions: (1) the defendant

 shall refrain from any unlawful use of a controlled substance; and (2) the defendant shall refrain from

 excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled

 substance, or any paraphernalia related to any controlled substances, except as prescribed by a
    Case 4:04-cr-00185-RAS-DDB              Document 550      Filed 06/04/13      Page 2 of 2 PageID #:
                                                   1143

     physician.

            The petition alleges that Defendant committed the following acts with regard to the

     remaining violations: (1) On January 3, 2011, Defendant submitted a urine specimen which tested

     positive for methamphetamine. On January 10, 2011, Defendant admitted in writing to using

     methamphetamine on January 2, 2011; and (2) On February 13, 2012, Defendant submitted a urine

     specimen which tested positive for methamphetamine. On March 1, 2012, Defendant admitted in

     writing to using methamphetamine.

            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violations.

                                            RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of nine (9) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons' Fort Worth, Texas facility.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
           SIGNED this 31st day of May, 2013.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES MAGISTRATE JUDGE
